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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241


                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                           District of
                                                       __________       Massachusetts
                                                                    District  of __________

                            Karen Read                                        )
                                                                              )
                                                                              )
                               Petitioner
                                                                              )
                                                                              )
                                   v.                                         )
                                                                              )     Case No.
Norfolk County Superior Court, Massachusetts Attorney                                                  (Supplied by Clerk of Court)
                                                                              )
                       General                                                )
                                                                              )
                          Respondent
(name of warden or authorized person having custody of petitioner)

                          PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241
                                                                Personal Information

1.        (a) Your full name: Karen Read
          (b) Other names you have used: N/A
2.        Place of confinement:
          (a) Name of institution:  N/A
          (b) Address:       N/A


          (c) Your identification number:     N/A
3.        Are you currently being held on orders by:
          ’ Federal authorities       ✔State authorities
                                      ’                                           ’ Other - explain:

4.        Are you currently:
          ’ A pretrial detainee (waiting for trial on criminal charges)
          ’ Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
            If you are currently serving a sentence, provide:
                  (a) Name and location of court that sentenced you: N/A

                 (b) Docket number of criminal case:          N/A
                 (c) Date of sentencing:
          ’ Being held on an immigration charge
          ✔
          ’ Other (explain):  Released on bail pending trial on criminal charges




                                                   Decision or Action You Are Challenging

5.        What are you challenging in this petition:
          ’ How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
            revocation or calculation of good time credits)

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          ’ Pretrial detention
          ’ Immigration detention
          ’ Detainer
          ’ The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
            maximum or improperly calculated under the sentencing guidelines)
          ’ Disciplinary proceedings
          ✔Other (explain):
          ’                    I am claiming that my April 2025 retrial violates my federal Double Jeopardy rights.



6.        Provide more information about the decision or action you are challenging:
          (a) Name and location of the agency or court: Norfolk County Superior Court

          (b) Docket number, case number, or opinion number:             Criminal Action 22-00117
          (c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):
          Order denying motion to dismiss



          (d) Date of the decision or action: 08/22/2024

                                            Your Earlier Challenges of the Decision or Action

7.        First appeal
          Did you appeal the decision, file a grievance, or seek an administrative remedy?
          ✔Yes
          ’                      ’ No
          (a) If “Yes,” provide:
                  (1) Name of the authority, agency, or court: Supreme Judicial Court

                     (2) Date of filing: 09/19/2024
                     (3) Docket number, case number, or opinion number: SJC-13663
                     (4) Result:     Affirmed
                     (5) Date of result: 02/11/2025
                     (6) Issues raised: (1) whether the jury's unanimous conclusion following trial that Ms. Read is not guilty
                    on Counts 1 and 3 constitutes an acquittal and precludes re-prosecution; (2) whether, alternatively, the
                    defense is entitled to a post-verdict judicial inquiry to determine whether the evidence supports the juror
                    representations as to having acquitted Ms. Read; (3) whether re-prosecution is independently barred
                    because there was no manifest necessity to declare a mistrial on counts for which the jury was not
                    deadlocked; and (4) assuming arguendo the court found that counsel consented to a mistrial, whether
                    the defendant's personal consent was required
          (b) If you answered “No,” explain why you did not appeal:               N/A



8.        Second appeal
          After the first appeal, did you file a second appeal to a higher authority, agency, or court?
          ’ Yes                    ’✔No


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          (a) If “Yes,” provide:
                  (1) Name of the authority, agency, or court: N/A

                     (2) Date of filing:
                     (3) Docket number, case number, or opinion number:             N/A
                     (4) Result:     N/A
                     (5) Date of result:
                     (6) Issues raised: N/A




          (b) If you answered “No,” explain why you did not file a second appeal: There was no additional state remedy
          available to prevent the impending violation of my Double Jeopardy rights.


9.        Third appeal
          After the second appeal, did you file a third appeal to a higher authority, agency, or court?
          ’ Yes                  ✔No
                                 ’
          (a) If “Yes,” provide:
                  (1) Name of the authority, agency, or court: N/A

                     (2) Date of filing:
                     (3) Docket number, case number, or opinion number:              N/A
                     (4) Result:     N/A
                     (5) Date of result:
                     (6) Issues raised: N/A




          (b) If you answered “No,” explain why you did not file a third appeal:           There was no additional state remedy
          available to prevent the impending violation of my Double Jeopardy rights.

10.       Motion under 28 U.S.C. § 2255
          In this petition, are you challenging the validity of your conviction or sentence as imposed?
          ’ Yes                   ✔No
                                  ’
          If “Yes,” answer the following:
          (a)     Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
                  ’ Yes                     ’ No


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                     If “Yes,” provide:
                     (1) Name of court: N/A
                     (2) Case number: N/A
                     (3) Date of filing:
                     (4) Result: N/A
                     (5) Date of result:
                     (6) Issues raised: N/A




          (b)       Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                    seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
                    sentence?
                    ’ Yes                      ’ No
                    If “Yes,” provide:
                    (1) Name of court: N/A
                    (2) Case number: N/A
                    (3) Date of filing:
                    (4) Result: N/A
                    (5) Date of result:
                    (6) Issues raised: N/A




          (c)        Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
                     conviction or sentence: N/A




11.       Appeals of immigration proceedings
          Does this case concern immigration proceedings?
          ’ Yes                  ✔
                                 ’ No
                  If “Yes,” provide:
          (a)     Date you were taken into immigration custody:
          (b)     Date of the removal or reinstatement order:
          (c)     Did you file an appeal with the Board of Immigration Appeals?
                 ’ Yes                       ’ No

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                     If “Yes,” provide:
                     (1) Date of filing:
                     (2) Case number: N/A
                     (3) Result:     N/A
                     (4) Date of result:
                     (5) Issues raised: N/A




          (d)       Did you appeal the decision to the United States Court of Appeals?
                    ’ Yes                     ’ No
                    If “Yes,” provide:
                    (1) Name of court: N/A
                    (2) Date of filing:
                    (3) Case number: N/A
                    (4) Result: N/A
                    (5) Date of result:
                    (6) Issues raised: N/A




12.       Other appeals
          Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
          raised in this petition?
          ’ Yes                    ✔
                                   ’ No
          If “Yes,” provide:
          (a) Kind of petition, motion, or application:   N/A
          (b) Name of the authority, agency, or court:    N/A


          (c) Date of filing:
          (d) Docket number, case number, or opinion number:                       N/A
          (e) Result:        N/A
          (f) Date of result:
          (g) Issues raised:     N/A




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                                                Grounds for Your Challenge in This Petition
13.       State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
          facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

        GROUND ONE: Re-Prosecution Is Barred Because There Was No Manifest Necessity to Declare a Mistrial
         on Counts on which the Jury Was Not Deadlocked



          (a) Supporting facts (Be brief. Do not cite cases or law.):
         See Memorandum in Support of Petition




          (b) Did you present Ground One in all appeals that were available to you?
          ✔
          ’ Yes                 ’ No

        GROUND TWO: The Jury's Unanimous Conclusion Following Trial that Ms. Read Is Not Guilty on Counts 1
         and 3 Constitutes an Acquittal and Precludes Re-Prosecution



          (a) Supporting facts (Be brief. Do not cite cases or law.):
         See Memorandum in Support of Petition




          (b) Did you present Ground Two in all appeals that were available to you?
          ✔
          ’ Yes                 ’ No

      GROUND THREE: Alternatively, the Defense Is Entitled to a Post-Verdict Judicial Inquiry to Determine Whether
         the Evidence Supports the Juror Representations as to Having Acquitted Ms. Read



          (a) Supporting facts (Be brief. Do not cite cases or law.):
         See Memorandum in Support of Petition




          (b) Did you present Ground Three in all appeals that were available to you?
          ✔ Yes
          ’                     ’ No


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        GROUND FOUR:                 N/A




          (a) Supporting facts (Be brief. Do not cite cases or law.):
          N/A




          (b) Did you present Ground Four in all appeals that were available to you?
          ’ Yes                 ’ No

14.       If there are any grounds that you did not present in all appeals that were available to you, explain why you did
          not: N/A




                                                                  Request for Relief

15. State exactly what you want the court to do: Issue a writ of habeas corpus and rule that Ms. Read's re-prosecution
on Counts 1 and 3 would violate her Double Jeopardy rights




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                                                    Declaration Under Penalty Of Perjury

          If you are incarcerated, on what date did you place this petition in the prison mail system:
          N/A


I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.




Date:            02/18/2025
                                                                                              Signature of Petitioner



                                                                                             Martin G. Weinberg
                                                                              Signature of Attorney or other authorized person, if any




         Print                        Save As...                                                                                         Reset




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